923 F.2d 848Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Edward MCCUTCHEON, Plaintiff-Appellant,v.J. NORMAN, Defendant-Appellee.
    No. 89-6404.
    United States Court of Appeals, Fourth Circuit.
    Submitted Sept. 28, 1990.Decided Jan. 17, 1991.
    
      Appeal from the United States District Court for the District of Maryland, at Baltimore.  Joseph C. Howard, District Judge.  (CA-88-3309-JH)
      Edward McCutcheon, appellant pro se.
      Robert Charles Verderaime, Verderaime and Dubois, Baltimore, Md., for appellee.
      D.Md.
      AFFIRMED.
      Before WILKINS and NIEMEYER, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Edward McCutcheon appeals from the district court's order denying relief under 42 U.S.C. Sec. 1983.  Our review of the record and the district court's opinion accepting the recommendation of the magistrate judge discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  McCutcheon v. Norman, CA-88-3309-JH (D.Md. Sept. 20, 1989).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    